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UNITED STATES DISTRICT COURT SEEBRAPOLIS DIVISION
SOUTHERN DISTRICT OF INDIANA 0012 JUL Ob PM bent
Aube Ju ot He OL
ROBERT COLLIER, On Behalf of Himself and SOUTH POR
All Others Similarly Situated, Civil Action No. Lain Ae a eo
Plaintiff, oe
VS, CLASS ACTION COMPLAINT FOR
BRIGHTPOINT, INC., JERRE L. STEAD, VIOLATION OF SECTIONS 14(a) AND
ELIZA HERMANN, ROBERT J. LAIKIN, (e) AND 20(a) OF THE SECURITIES
JOHN F. LEVY, CYNTHIA L. LUCCHESE, EXCHANGE ACT OF 1934
RICHARD W. ROEDEL, MICHAEL L. Complaint—Class Action
SMITH, KARI-PEKKA WILSKA, INGRAM
MICRO INC., and BEACON SUB, INC., Demand for Jury Trial

Defendants. / 1 2] 2 -cv- 1016 IWP -DKL

Plaintiff Robert Collier (“Plaintiff”), by his attorneys, for his class action complaint

 

against defendants, alleges upon information and belief, except for paragraph 9 hereof, which is
alleged upon knowledge as follows:

l. This is a class action brought by Plaintiff on behalf of common stockholders of
BrightPoint, Inc. (“BrightPoint” or the “Company”) for violations for Section 14 and 20(a) in
connection with the proposed acquisition of the publicly-owned shares of BrightPoint’s common
stock by Ingram Micro Inc. (“Ingram”) through its affiliated entity, Beacon Sub, Inc. (Merger
Sub), as detailed herein (the “Proposed Transaction”).

2, On July 2, 2012, BrightPoint announced that the Company had entered into a
definitive Agreement and Plan of Merger, dated June 29, 2012 (“Agreement”) under which
affiliates of Ingram will acquire all of the outstanding stock of BrightPoint, in a transaction
valued at approximately $840 million, including the assumption of BrightPoint’s outstanding
debt. The announcement stated that the Proposed Transaction is expected to close before the end

of the year.
 

 

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3. Under the terms of the Agreement, stockholders will receive $9.00 cash per share
for all outstanding shares of the Company’s common stock. Ingram has obtained a commitment
for a $300 million debt facility from Morgan Stanley Senior Funding, Inc.

4. On July 19, 2012, BrightPoint filed its preliminary Schedule 14A (“Proxy
Statement”) with the Securities and Exchange Commission (“SEC”) which once declared
effective, will solicit Company shareholders to vote to approve the Proposed Transaction.
However, the Proxy Statement is replete with material omissions and misstatements.

5. For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin
defendants from taking any steps to consummate the Proposed Transaction due to the Individual
Defendants’ violations of Sections 14 and 20(a).

JURISDICTION AND VENUE

6. This Court has jurisdiction over all claims asserted herein pursuant to 28 U.S.C
§1331 in that plaintiff's claims arise in part under the Constitution and laws of the United States,
including the Exchange Act [15 U.S.C. §78aa] and 28 U.S.C. §1331. This Court also has
supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a).

7. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1332(a), (c),
and (d) as Plaintiff and the defendants are citizens of and domiciled in different states and the
amount in controversy exceeds $75,000, exclusive of interests and costs. Given that the
Proposed Transaction is valued at approximately $ 840 million, the injunctive relief sought
herein will exceed a sum or value of $75,000. This action is not a collusive one to confer
jurisdiction on this Court.

8. Venue is proper in this Court pursuant to 28 U.S.C. §1391 because BrightPoint 1s

incorporated in Indiana and is therefore a resident of this District.
 

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PARTIES

9. Plaintiff Robert Collier is and has been at all relevant times the owner of the
common stock of the Company and is a resident of New York.

10. Defendant BrightPoint is an Indiana corporation that was formed as Wholesale
Cellular U.S.A., Inc. in 1989 with its principal headquarters at 7635 Interactive Way, Suite 200
Indianapolis, Indiana 46278. BrightPoint is a global leader in providing device lifecycle services
to the wireless and high-tech industries. In 2011, BrightPoint handled more than 112 million
wireless devices globally. BrightPoint’s 5 key service areas — Plan, Market, Customize, Move,
Recover, offer over 110 innovative services, such as distribution channel management,
procurement, inventory management, reverse logistics and repair services, software loading,
kitting and customized packaging, fulfillment, product customization, eBusiness solutions, and
other outsourced services that integrate seamlessly with its customers’ IT systems and
operations. BrightPoint has more than 4,000 employees, as well as a significant number of
temporary staff, and a global footprint covering more than 35 countries, including 13 Latin
American countries through its investment in Intcomex, Inc.

11. Defendant Jerre L. Stead (“Stead”) has been a director of the Company since June
2000. Stead currently serves as the Company’s lead independent director and is a member of the
Compensation and Human Resources Committee. Stead also serves as chairman of the Corporate
Governance and Nominating Committee (“CGN Committee”).

12. Defendant Eliza Hermann (“Hermann”) has been a director since January 2003,
and is also member of the Compensation Committee. From 2004 until 201 1, Hermann was chair

of the Compensation Committee and a member of the CGN Committee.
 

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13. Defendant Robert J. Laikin (“Laikin”) founded BrightPoint and has served as a
director since the Company’s inception in August 1989 and serves on its Strategy Committee.
Laikin has been Chairman of the Board and Chief Executive Officer of BrightPoint since January
1994, From June 1992 until September 1996, Laikin was President of BrightPoint. Laikin was
Vice President and Treasurer of BrightPoint from August 1989 until May 1992.

14. Defendant John F. Levy (“Levy”) has been a director of the Company since
September 2010 and is also a member of the Audit Committee.

15. Defendant Cynthia L Lucchese (“Lucchese”) has served as a director since
August 2009 and is chairperson of BrightPoint’s Audit Committee.

16. Defendant Richard W. Roedel (“Roedel”) has been a director of the Company
since October 2002. Roedel has served as chairman of the Compensation Committee since
October 2011 and he currently serves as a member of the CGN Committee. From 2002 until
2011, Roedel was chairman of the Audit Committe,

17, Defendant Michael L. Smith (“Smith”) has been a director of the Company since
May 2011 and also serves on the Audit Committee.

18. Defendant Kari-Pekka Wilska (“Wilska”) has been a director since November
2005 and also serves as chairperson of the Company’s Strategy Committee.

19. The defendants identified in f]11-18 are referred to herein as the “Individual
Defendants.”

20, Defendant Ingram is the world’s largest technology distributor. Ingram has local
sales offices and/or representatives in 26 countries, 105 distribution centers worldwide and

serving more than 190,000 resellers in approximately 145 countries. Ingram maintains its

principal executive offices at 1600 E. St. Andrew Place, Santa Ana, CA 92705.

 
 

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21. Defendant Beacon Sub (“Merger Sub”) is an Indiana Company and is a direct
wholly owned subsidiary of Ingram.

22. Defendants Ingram and Beacon Sub, Inc. are collectively referred to herein as
“Ingram”.

CLASS REPRESENTATION ALLEGATIONS

23, Plaintiff brings this action on his own behalf and as a class action, pursuant to
Rule 23 of the Federal Rules of Civil Procedure, on behalf of all stockholders of the Company
(except the defendants herein and any person, firm, trust, corporation, or other entity related to or
affiliated with any of the defendants) and their successors in interest, who are or will be
threatened with injury arising from defendants’ actions as more fully described herein (the
“Class”).

24. — This action is properly maintainable as a class action.

25. The Class is so numerous that joinder of all members is impracticable. As of June
28, 2012 the Company had 68,792,074 shares of common stock outstanding, owned by
thousands of shareholders located throughout the country.

26. There are questions of law and fact which are common to the Class including,
inter alia, the following: (a) whether defendants have breached their fiduciary and other
common law duties owed by them to Plaintiff and the members of the Class; (b) whether
defendants have failed to disclose material information to BrightPoint’s common stockholders;
and (c) whether the Class is entitled to injunctive relief or damages as a result of the wrongful
conduct committed by defendants.

27. Plaintiff is committed to prosecuting this action and has retained competent

counsel experienced in litigation of this nature. The claims of the Plaintiff are typical of the

 
 

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claims of other members of the Class as set forth in Rule 23 and Plaintiff has the same interests
as the other members the Class. Plaintiff will fairly and adequately represent the Class.

28. Plaintiff envisions no unusual difficulty in the management of this action.

29. The prosecution of separate actions by individual members of the Class would
create a risk of inconsistent or varying adjudications with respect to individual members of the
Class, which would establish incompatible standards of conduct for defendants, or adjudications
with respect to individual members of the Class which would, as a practical matter, be
dispositive of the interests of other members or substantially impair or impede their ability to
protect their interests.

30. Defendants have acted in a manner, which affects Plaintiff and all members of the
Class, thereby making appropriate injunctive relief and/or corresponding declaratory relief with
respect to the Class as a whole.

SUBSTANTIVE ALLEGATIONS

Background

31. BrightPoint is a global leader in providing device lifecycle services to the wireless
and high-tech industries. In 2011, BrightPoint handled more than 112 million wireless devices
globally. BrightPoint’s 5 key service areas — Plan, Market, Customize, Move, Recover, offer
over 110 innovative services, such as distribution channel management, procurement, inventory
management, reverse logistics and repair services, software loading, kitting and customized
packaging, fulfillment, product customization, eBusiness solutions, and other outsourced
services that integrate seamlessly with its customers’ IT systems and operations. BrightPoint has
more than 4,000 employees, as well as a significant number of temporary staff, and a global
footprint covering more than 35 countries, including 13 Latin American countries through its

investment in Intcomex, Inc.
 

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The Proposed Transaction

32. On July 2, 2012, BrightPoint issued a press release which stated in relevant part:
Ingram Micro Inc. (NYSE: IM), the world’s largest technology distributor and supply-
chain services provider, and Brightpoint, Inc. (“BrightPoint”) (Nasdaq: CELL), a global
leader in providing device lifecycle services to the wireless industry, announced today
they have entered into a definitive agreement under which, subject to customary closing
conditions, Ingram Micro will acquire all of the outstanding shares of BrightPoint
common stock for $9.00 per share in cash, a 66 percent premium to BrightPoint’s closing
stock price on June 29, 2012, and a 35 percent premium to the 90-day average trading
price. The transaction is valued at approximately $840 million, including the value of
approximately $190 million of BrightPoint’s estimated debt (net of cash), as of June 30,
2012.

The complementary combination of Ingram Micro with BrightPoint will create a leading
global provider of device lifecycle services and solutions for the mobility industry.
Together, Ingram Micro and BrightPoint will have tremendous customer reach and deep
relationships with key vendors, network operators and mobile virtual network operators.
The combined company will have an expanded global geographic footprint and customer
base in the rapidly growing and strategically important mobility market.

33. The release added that Mark Howell (Americas), Bruce Thomlinson (APAC) and
Anurag Gupta (EMEA) — BrightPoint’s existing Regional Presidents - and Vincent Donargo,
BrightPoint’s Chief Financial Officer, committed to senior roles within the new organization. In
addition, Defendant Laikin will serve in a senior advisory role to Alain Monié, Ingram’s
President and Chief Operating Officer. In connection with Laikin’s continued employment after
the close of the Proposed Transaction, he entered into an amendment to his employment
agreement to persuade him to remain with the Company, which includes a cash payment of $9
million (less the amounts payable for the vesting and payment of equity awards under the Merger
Agreement). However, the Proxy Statement does not disclose when those discussions
commenced between Laikin and other members of management and Ingram Micro, which is

particularly critical given that Laikin was the primary negotiator of the Proposed Transaction for

Brightpoint.
 

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34. | While the Proposed Transaction may provide substantial benefits to Ingram,
management, vendors and suppliers, the consideration offered to BrightPoint’s stockholders in
the Proposed Transaction is unfair and inadequate because, among other things, the intrinsic
value of BrightPoint’s common stock is materially in excess of the amount offered for those
securities in the Proposed Transaction given the Company’s prospects for future growth and
earings.

35. Moreover, while the Proposed Transaction appears to provide a premium over
BrightPoint’s June 29, 2012 closing share price, it fails to consider the Company’s recent success
and potential future growth. It appears to overvalue short term losses of the Company. Less than
five months earlier, BrightPoint’s stock hit a 52-week high of $12.05 before closing at $11.99.

36. | The Company’s short term losses were seemingly fueled by the loss of one of its
logistic services customers, as announced in a press release by the Company on February, 21
2012.

37. However, BrightPoint was poised to rebound. It has since renewed service
agreements with major customers Sprint United Management Company and MetroPCS while
also announcing a servicing agreement with FreedomPop, which is funded by Skype
Technologies SA founder Niklas Zennstrom.

38. Further frustrating the possibility of finding a superior proposal was the fact that
the Company issued a press release announcing preliminary estimates of its financial results for
the second quarter of 2012 on the same day that it announced plans to enter into the Merger
Agreement with Ingram. The announcement of the Proposed Transaction effectively placed a cap

on the amount BrightPoint could expect to receive for its shares before the market had a
 

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legitimate opportunity to analyze and respond to its improving agreements and current financial
condition.

39. | The Proposed Transaction comes at a time when the Company’s stock price is
undervalued following short term losses, but its prospects for growth and increased revenue are
likely increasing. As a result of the Proposed Transaction, the Company’s shareholders are
provided inadequate information with respect to critical aspects of the negotiation process.

40. Furthermore, as part of the Merger Agreement, the Individual Defendants agreed
to onerous and preclusive deal protection devices that operate to ensure that no competing offers
will emerge for the Company.

41. The Proposed Transaction provides for a “Termination Fee” of $26,000,000 to be
paid in cash if the Agreement is terminated by the Company or by Ingram pursuant to the terms
of the Merger Agreement, including in the event that Company decides to pursue a superior
offer.

42. The Termination Fee amounts to approximately 3.1% of the equity value of the
deal and essentially requires that the alternate bidder agree to pay a naked premium for the right
to provide the shareholders with a superior offer. It is thus unlikely that any such superior offer
would emerge.

43. Individual Defendants are additionally impeding the possibility that the Company
will pursue a superior proposal with the inclusion of a “No Solicitation” provision within the
Agreement. The provision prohibits the Company and any of its representatives from initiating,

soliciting or knowingly encouraging any inquiries that constitute an acquisition proposal. It

further requires the Company and any of its representatives to immediately cease all discussions

 
 

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or negotiations with any person with respect to any acquisition proposal. This provision
effectively forecloses the possibility that the Company would receive a superior bid.

44, Ultimately, these preclusive deal protection devices impede the Company’s
ability to solicit or engage in negotiations with any third party regarding a proposal to acquire all
or a significant interest in the Company. The circumstances under which the Board may respond
to an unsolicited alternative acquisition proposal that constitutes, or would reasonably be
expected to constitute, a superior proposal are too narrowly circumscribed to provide an effective
“fiduciary out” under the circumstances.

The Materially False and Misleading Proxy Statement

45. On July 19, 2012, Defendants filed the Proxy Statement, which contains
materially false and misleading information, including the following:

(a) In recommending that shareholders vote to approve the Proposed
Transaction, the Board and its financial advisor, Blackstone Advisory Partners L.P.
(“Blackstone”), relied upon projected financial information prepared by BrightPoint management
for the fiscal years ended December 31, 2012 through December 31, 2017 (“projections”).
However, those projections have not been disclosed in the Proxy Statement, notwithstanding the
fact that projections and the free cash flows derived therefrom, are the best assessment for
shareholders to determine whether it makes sense to give up their ownership in the Company for
cash;

(b) The Proxy Statement fails to disclose the ratios and multiples observed
by Blackstone for each of the companies in its Selected Companies Analysis, including the
financial metrics and projections for these companies obtained from Capital IQ or the basis for

the selection of the comparable companies and how they compared to BrightPoint;

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(c) The Proxy Statement fails to disclose in the Selected Companies Analysis
the full range for 2012 estimated share price to earnings per share or any of the multiples based
on last twelve month financials or next twelve month financials;

(d) The Proxy Statement fails to disclose, in Blackstone’s Illustrative Stand-
Alone Discounted Cash Flow Analysis (“DCF”), how Blackstone treated stock based
compensation, the manner in which any net operating losses (“NOLs”) were treated, and whether
Blackstone used a mid-year convention, or end-of-year convention in the DCF;

(e) The Proxy Statement fails to disclose in the DCF the growth rate in
perpetuity the exit multiple of 4.0x to 6.0x LTM EBITDA represents;

(f) The Proxy Statement fails to disclose the data utilized by Blackstone
derived from various sources for its Selected Precedent Transactions Analysis, from which
Blackstone derived multiples for each of the selected transactions, the basis for the selection of
these transactions comparables or what the observed transaction value to last twelve months
revenue (“LTM”) as of March 31, 2012 was for each such transaction;

(g) The Proxy Statement does not disclose in Blackstone’s Illustrative
Premiums Paid Analysis what values were observed if only the 14 selected precedent
transactions were used;

(h) The financial compensation to be earned by Blackstone has not been
disclosed in the Proxy Statement, which makes it impossible for BrightPoint shareholders to
determine how much weight to place on Blackstone’s analyses and recommendation, particularly
in light of the fact that the majority of Blackstone’s compensation will be dependent upon the

Proposed Transaction being effectuated,

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(i) The Proxy Statement fails to disclose when BrightPoint management,
including defendant Laikin, began discussing with Ingram Micro the possibility of remaining
with the Company after the close of the Proposed Transaction; and

(j) Despite the fact that BrightPoint received expressions of interest from
other entities described as Party A, Party C and Party D in the Proxy Statement, the Proxy
Statement fails to disclose why BrightPoint felt the need to pursue a transaction at an accelerated
pace, to the exclusion of these other expressions of interest.

46. Absent this material information, Plaintiff and other BrightPoint shareholders will
not have all the necessary information to make a decision whether to vote their shares in favor of
the Proposed Transaction. Accordingly, Plaintiff seeks injunctive and other equitable relief to
prevent the irreparable injury that Company shareholders will continue to suffer absent judicial
intervention.

FIRST CAUSE OF ACTION
On Behalf of Plaintiff and the Class for Violations of
Section 14(a) and (e) of the Exchange Act
(Against the Company and the Individual Defendants)

47, Plaintiff brings this Exchange Act claim on behalf of himself as an individual and
on behalf of all BrightPoint shareholders.

48. Plaintiff incorporates each and every allegation set forth above as if fully set forth
herein.

49. Defendants have issued the Proxy Statement with the intention of soliciting
shareholder support for the Proposed Transaction.

50. Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that such communications with shareholders shall not contain “any statement

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which, at the time an in the light of the circumstances under which it is made, is false or
misleading with respect to any material fact, or which omits to state any material fact necessary
in order to make the statements therein not false or misleading.” 17 C.F.R. §240.14a-9.

51. Specifically, the Proxy Statement violates Section 14(a) and Rule 14a-9 because it
omits material facts, including those set forth above. Moreover, in the exercise of reasonable
care, Defendants should have known that the Proxy Statement is materially misleading and omits
material facts that are necessary to render it non-misleading.

52. . The misrepresentations and omissions in the Proxy Statement are material to
Plaintiff and the Class, who will be deprived of their entitlement to cast a fully informed vote if
such misrepresentations and omissions are not corrected prior to the vote on the Proposed
Transaction. As a direct and proximate result of Defendants’ conduct, Plaintiff and other
BrightPoint shareholders will be irreparably harmed.

SECOND CAUSE OF ACTION

On Behalf of Plaintiff and the Class for Violations of Section 20(a) of the Exchange Act
(Against the Individual Defendants)

53. Plaintiff brings this Exchange Act claim on behalf of himself as an individual and
on behalf of all other BrightPoint shareholders.

54. Plaintiff incorporates each and every allegation set forth above as if fully set forth
herein.

55. The Individual Defendants acted as controlling persons of BrightPoint within the
meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as
officers and/or directors of BrightPoint, and participation in and/or awareness of the Company’s
operations and/or intimate knowledge of the false statements contained in the Proxy Statement

filed with the SEC, they had the power to influence and control and did influence and control,

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directly or indirectly, the decision making of the Company, including the content and
dissemination of the various statements which Plaintiff contends are false and misleading.

56. Each of the Individual Defendants were provided with or had unlimited access to
copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to
and/or shortly after these statements were issued and had the ability to prevent the issuance of the
statements or cause the statements to be corrected.

57. In particular, each of the Individual Defendants had direct and supervisory
involvement in the day-to-day operations of the Company, and, therefore, is presumed to have
had the power to control or influence the particular transactions giving rise to the securities
violations alleged herein, and exercised the same. The Proxy Statement at issue contains the
unanimous recommendation of each of the Individual Defendants to approve the Proposed
Transaction. They were, thus, directly involved in the making of this document.

58. In addition, as the Proxy Statement sets forth at length, and as described herein,
the Individual Defendants were each involved in negotiating, reviewing, and approving the
Merger. The Proxy Statement purports to describe the various issues and information that the
Individual Defendants reviewed and considered. The Individual Defendants participated in
drafting and/or gave their input on the content of those descriptions.

59. __ By virtue of the foregoing, the Individual Defendants have violated Section 20(a)
of the Exchange Act.

60. As set forth above, the Individual Defendants had the ability to exercise control
over and did control a person or persons who have each violated Section 14(a) and SEC Rule
14a-9, by their acts and omissions as alleged herein. By virtue of their positions as controlling

persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct

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and proximate result of Individual Defendants’ conduct, Plaintiff and the Class will be
irreparably harmed.
61. Plaintiff has no adequate remedy at law.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff demands injunctive relief in his favor and in favor of the Class
and against defendants as follows:

Declaring this action to be a proper class action and certifying Plaintiff as class

representative and Plaintiff's counsel as class counsel;

A. Declaring this action to be a proper class action and certifying Plaintiff as class
representative and Plaintiff's counsel as class counsel;

B. Ordering Defendants to correct the materially misleading Proxy Statement;

Cc, Rescinding, to the extent already implemented, the Proposed Transaction or any
of the terms thereof; and

D. Granting such other and further relief as the Court deems just and proper.

JURY DEMAND

Plaintiff demands a trial by jury.

Dated: July 24, 2012 Respectfully submitted,

  

YNemeth Joven, Atty. No. 18091-53A
cnemeth@price-law.com

 

The Hammond Block Building
301 Massachusetts Avenue
Indianapolis, IN 46204

(317) 633-8787

 
 

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Of Counsel:

FARUQI & FARUQI, LLP
Juan E. Monteverde
jmonteverde@faruqilaw.com
Shane Rowley
Srowley@faruqilaw.com

www. farugilaw.com

369 Lexington Avenue, 10" Floor
New York, NY 10017

Tel: (212) 983-9330

Fax: (212) 983-9331

Attorneys for Plaintiff

 
